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                    * * *     S E A L E D * * *
                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

  * * * * * * * * * * * * * * * *
 IN RE:                                  )
 Grand Jury Investigation                )   Case No. 18-34
 United States of America,               )
 Interested Party.                       )   10:37 a.m.
                                         )   June 29, 2018
                                         )   Washington, D.C.
  * * * * * * * * * * * * * * * *


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                      TRANSCRIPT OF PROCEEDINGS
                BEFORE THE HONORABLE BERYL A. HOWELL,
              UNITED STATES DISTRICT COURT CHIEF JUDGE


 APPEARANCES:


 FOR THE GOVERNMENT: AARON J. ZELINSKI
                     JEANNIE S. RHEE
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 FOR THE WITNESS:       PAUL D. KAMENAR
 (Via telephone)        1629 K Street, N.W., Suite 300
                        Washington, D.C. 20006
                        (301) 257-9435

 ALSO PRESENT:          CURTIS HEIDE, Special Agent
                        MICHELLE TAYLOR


 Court Reporter:        Elizabeth Saint-Loth, RPR, FCRR
                        Official Court Reporter
                        U.S. Courthouse
                        Washington, D.C. 20001


            Proceedings reported by machine shorthand,
          transcript produced by computer-aided transcription.


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                         * * *     S E A L E D * * *
 1                            P R O C E E D I N G S

 2                THE DEPUTY:     Hi, Mr. Kamenar.     You are now

 3     connected to our courtroom.

 4                THE COURT:     Ms. Gumiel, please call the case.

 5                THE DEPUTY:     Matter before the Court, Grand Jury

 6     Case No. 18-34 in regard to a grand jury investigation for

 7     the United States of America, interested party.

 8                Counsel, please come forward.        Mr. Kamenar, please

 9     state your name for the record.

10                THE COURT:     I am going to start with the

11     Government, as is the normal course.

12                MR. ZELINSKY:     Thank you, Your Honor.

13                Aaron Zelinsky on behalf of the United States, and

14     Jeannie Rhee.    With me at counsel table is Special Agent

15     Curtis Heide and Michelle Taylor from the FBI.

16                THE COURT:     Thank you for being here in a timely

17     manner.

18                On the phone I have another lawyer.         Can you

19     please state your full name for the record.

20                MR. KAMENAR:     Yes.   Paul Kamenar, K-A-M-E-N-A-R.

21                THE COURT:     Could you explain to me why you are

22     not present in the courtroom?

23                MR. KAMENAR:     Say again.

24                THE COURT:     Could you explain to me why you are

25     not present in the courtroom?

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                         * * *     S E A L E D * * *
 1                 MR. KAMENAR:    Yes.    Your Honor, I just found out

 2     about it from the call from the clerk.        I had a call from

 3     Mr. Zelinsky yesterday afternoon, around three o'clock,

 4     saying that the grand jury was being postponed and he's

 5     proposing the scheduling on my motion; one on the

 6     timeliness, on July 11th.        And I think, depending upon that

 7     briefing for that on the merits, based on the --

 8                 THE COURT:    Okay.    Mr. Kamenar.

 9                 Mr. Kamenar, you are going in and out.        Are you

10     walking?   Are you going -- walking around, pacing in your

11     room?

12                 MR. KAMENAR:    Yes.

13                 THE COURT:    If you are, please be still, and speak

14     carefully into the microphone on the telephone because this

15     is not only annoying that you are not in court pursuant to

16     the court order that was emailed to you yesterday; but it is

17     doubly annoying when you go in and out and I can barely hear

18     you.    So sit still, and speak into the microphone.

19                 MR. KAMENAR:    I can call on a land line.

20                 Can you hear me now?

21                 THE COURT:    Yes.

22                 MR. KAMENAR:    Is this audible?      Otherwise, I can

23     call on the land line, if Your Honor prefers.

24                 THE COURT:    I can hear you now.

25                 MR. KAMENAR:    Okay.    I will stay in this position,

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                         * * *     S E A L E D * * *
 1     Your Honor.

 2                THE COURT:     No.   Excuse me, Mr. Kamenar.        You are

 3     still going in and out.      You need to give a land line number

 4     so that we can reach you.

 5                MR. KAMENAR:     Yes.    The land line number is

 6     301-986-9435; and I'll stand by to pick that up in a minute.

 7                THE DEPUTY:     Okay.

 8                (Whereupon, the proceeding pauses.         The deputy

 9     initiates phone communication via land line number.            Attempt

10     unsuccessful.)

11                THE COURT:     Call the cell phone again.

12                (Whereupon, the proceeding pauses.         The deputy

13     initiates phone communication via mobile telephone number.)

14                THE COURT:     All right.   Mr. Kamenar, is this your

15     cell phone again?

16                MR. KAMENAR:     Yeah.   This is my cell phone.       I

17     think there is a problem with my land line.         They -- I had

18     Verizon out here yesterday.

19                THE COURT:     Okay.    Well, I'm beginning to feel

20     personally the frustration that the Special Counsel's Office

21     has had in trying to reach lawyers for this witness.            So

22     this is really unusual conduct for federal court

23     proceedings.

24                Mr. Kamenar, is your email address

25     Paul.Kamenar@gmail.com.

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                         * * *     S E A L E D * * *
 1                  MR. KAMENAR:   Yes.    That's one of them.

 2                  THE COURT:   Well, that is the one that you have

 3     placed on the motion that you filed.         Do you check that

 4     email address?    That is the email address to which the

 5     court's order was issued.       So please explain to me --

 6                  MR. KAMENAR:   Right.

 7                  THE COURT:   -- why it is that you are not present

 8     in court this morning?

 9                  MR. KAMENAR:   Okay.    I apologize, Your Honor.

10                  Let me just briefly discuss the situation.        First

11     of all --

12                  THE COURT:   No.   I asked a specific question.

13                  Why are you not in court this morning when the

14     court order was sent to your email address of record

15     yesterday?

16                  MR. KAMENAR:   Okay.    I got a call from

17     Mr. Zelinsky yesterday afternoon.

18                  THE COURT:   Mr. Zelinsky has nothing to do with

19     this.   This was an email with a court order sent directly to

20     your email address of record.

21                  Why are you not here this morning?

22                  MR. KAMENAR:   Okay.    Okay.   Your Honor, I am not

23     here because I did not see the court's order.          I apologize.

24                  My email in Gmail does roll over to my AOL

25     account, and I have always had that done.

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                         * * *     S E A L E D * * *
 1                  What time -- I may have missed that in the email.

 2     Usually, when there is an issue like this, opposing counsel

 3     will alert -- and this is why -- let me explain --

 4                  THE COURT:   Okay.   Let me just tell you right now,

 5     Mr. Kamenar, in my court you are expected to monitor your

 6     email, particularly in a sealed matter.         And when the Court

 7     orders you to be here in court for a hearing your presence

 8     is required.

 9                  MR. KAMENAR:   Yes, Your Honor.     I apologize.

10                  THE COURT:   You were sent an email at 5:09

11     yesterday, and I expected your presence in court today.

12                  MR. KAMENAR:   Your Honor, again, I apologize.

13                  I can be there within the hour or any time today,

14     if that fits Your Honor and opposing counsel's schedule.

15     But I assure you that this won't happen again.

16                  I just wanted to explain that I was told by

17     counsel --

18                  THE COURT:   Well, you have been forewarned,

19     Mr. Kamenar.

20                  The witness in this case is not the only party

21     that may be held in contempt for failure to comply with a

22     court order.

23                  MR. KAMENAR:   Okay.

24                  THE COURT:   When the Court orders your presence in

25     court, I expect you to be here, subject to all of the

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 1     inherent powers of contempt that this Court holds.

 2                All right.      The reason I have called you here

 3     today is because I did receive the status report about the

 4     conferring between the parties about scheduling briefing on,

 5     Mr. Kamenar, your motion on behalf the grand jury witness.

 6                MR. KAMENAR:     Yes.

 7                THE COURT:      And I have a number of questions about

 8     this proposal --

 9                MR. KAMENAR:     Yes.

10                THE COURT:      -- starting with dividing timeliness

11     from the merits of the motion, which makes little sense to

12     me.   But I wanted to make sure I wasn't missing something

13     here, which is why I called you all in to explain it to

14     me --

15                MR. KAMENAR:     Sure.

16                THE COURT:      -- because, apparently, you all agreed

17     to it.   So it must make sense to you, even though it doesn't

18     to me.

19                Then, with respect to the substantive briefing on

20     the motion, I don't understand the dates that are put

21     forward there.     Those dates don't comply with our local

22     rules under local Criminal Rule 47; 14 days for opposition,

23     7 days for a reply.     On grand jury proceedings, I generally

24     speed those up.

25                Okay.    So I will start with Mr. Zelinsky.

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                         * * *     S E A L E D * * *
 1                 Could you explain to me how it is that you want to

 2     divide timeliness from the substantive motion when -- you

 3     think -- given a substantive motion that the whole grand

 4     jury subpoena is invalid due to the unconstitutional

 5     appointment of the issuing authority, I can just ignore that

 6     and decide the motion to compel on timeliness factors?

 7                 I don't really --

 8                 MR. ZELINSKY:    Your Honor, I will -- let me

 9     explain a little bit of why the Government proposed that.

10     And, obviously, the Government has come today with some

11     additional dates for a briefing schedule that would brief it

12     all together, if the Court would prefer.

13                 THE COURT:    We're definitely going to brief it all

14     together.

15                 But, explain to me, am I missing something about

16     this timeliness issue?

17                 I mean, I just finished a sentence involving an

18     appeal waiver where -- after the Class -- after the Supreme

19     Court's decision recently in Class saying, you know, if the

20     charge to which a defendant was convicted is

21     unconstitutional or is not -- I mean, an appeal waiver in a

22     guilty plea isn't going to waive that issue.

23                 So how is it that -- you know, the Supreme Court

24     can hold that, and I'm supposed to say, what?          A grand jury

25     subpoena is possibly invalid?       I should just proceed with

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                         * * *      S E A L E D * * *
 1     the timeliness issue?

 2                  MR. ZELINSKY:   Your Honor, the Government's

 3     argument is that the motion filed by Mr. Kamenar yesterday

 4     is in fact a motion for reconsideration of the Court's

 5     earlier order.    It is not a second motion to quash.          The

 6     Court has already heard argument on the motion to quash, has

 7     already denied a motion to quash.

 8                  The arguments raised by Mr. Kamenar could have

 9     been raised earlier by the witness.        There is no change of

10     circumstances justifying bringing up new arguments for

11     reconsideration at this time.

12                  THE COURT:   Yes.   And so I understand -- I did

13     sort of fathom that that was probably going to be your

14     timeliness argument, that he's waived his constitutional

15     challenge to the authority of the Special Counsel to issue

16     subpoenas.

17                  But that's why I referenced the Class case where

18     the Supreme Court said:      With respect to actual convictions

19     they wouldn't acknowledge a waiver of appellate rights to

20     avoid considering the underlying constitutionality of the

21     actual charge.

22                  So if the Supreme Court could find that waiver

23     argument doesn't work in an actual conviction situation,

24     when there is a question about the underlying

25     constitutionality of the charge, why is it that you think

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                          * * *     S E A L E D * * *
 1     that that same analogous reasoning wouldn't apply in a

 2     situation involving issuance of the grand jury subpoena?

 3                 MR. ZELINSKY:    Well, the conviction obviously

 4     bears with it significantly more implications for the

 5     defendant including, obviously, incarceration, a follow on

 6     rights that are taken away; that is not the case for a grand

 7     jury subpoena, where the harm to the individual is merely

 8     having to arrive to testify.

 9                 So in the case of a criminal conviction, there are

10     added implications and concerns.

11                 THE COURT:     But the contempt -- the contempt -- if

12     the witness wanted to dispute the lawfulness of the grand

13     jury subpoena, the penalty would be that the witness would

14     be facing -- contempt would result in a loss of liberty.        I

15     am not going to belabor the point.        These issues --

16     timeliness is not an issue that I am going to consider

17     separately from the underlying merits of the motion.

18                 MR. ZELINSKY:    Understood, Your Honor.

19                 THE COURT:     Would it have been nice to have gotten

20     that argument when we were here last -- when was that,

21     June 18 -- to have considered it then, rather than delaying

22     even longer the appearance of this witness before the grand

23     jury?   Yes.   But perhaps they didn't think of it until they

24     read the Concord brief, which makes up a substantial part of

25     the briefing on the motion.

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                          * * *     S E A L E D * * *
 1                  So let me just give you some -- my reaction so you

 2     can both respond to it -- to your proposal.          Most of this

 3     motion is predicated entirely on the Concord motion.            And as

 4     I understand, even though it's not apparent on the docket of

 5     the Concord matter -- but as I understand the briefing

 6     schedule in that case, the Concord -- the Government's

 7     opposition in the concord briefing is due July 16th, where

 8     as, here, you have proposed sometime later, July 20th.           And

 9     the Concord reply is due July 30th in the Concord matter;

10     whereas, here, you have suggested a reply on July 27th.

11                  So if this briefing on this case were aligned with

12     the Concord briefing schedule, both dates would be

13     different.    So is that what you are proposing?

14                  MR. ZELINSKY:   Your Honor, our attempt is to move

15     this witness through grand jury as rapidly as possible.

16                  THE COURT:    Great.   Because I didn't like the

17     Concord briefing schedule for this matter.

18                  I do like to move grand jury matters as promptly

19     as possible.     And so what I would propose to the parties to

20     move this up, and to resolve these issues as promptly as

21     possible, is that the Government's opposition to the brief

22     be filed July 10th; the reply be due July 16th.

23                  Any hearing on the motion will be July 18th, with

24     a resolution shortly thereafter.

25                  MR. ZELINSKY:   Your Honor, we would respectfully

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                          * * *     S E A L E D * * *
 1     request that while we are interested in moving the witness's

 2     testimony along as quickly as possible, that the Concord

 3     briefing -- because of the issues that it raises, and the

 4     fact that it's being litigated in two different courts in

 5     this district -- that we align the briefing schedule, at

 6     least for the Government's response, for when the Concord

 7     brief is due, that is, July 16th for the Government's

 8     response.    So that -- we can make sure that everything is as

 9     linked up as possible with those two briefs so that this

10     Court and Judge Friedrich are not seeing any different

11     arguments or any differentiations.        So we would respectfully

12     request that our brief in this matter be due on July 16th,

13     the same as in the Concord matter.

14                  THE COURT:    All right.   I mean, having quickly

15     reviewed the Concord briefing since, of course, we just got

16     this yesterday, I didn't -- I found that that briefing

17     didn't address a number of things that needed to be

18     addressed.    So I don't actually know that that Concord

19     briefing is going to be as helpful to me as, perhaps, it may

20     be to another judge in another matter with a pending

21     Indictment.

22                  So, I mean, we could follow that briefing.         But

23     I'm telling you, you know, I am not sure that -- that

24     briefing didn't address various statutes that may be at

25     issue here.    So --

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                          * * *     S E A L E D * * *
 1                 MR. ZELINSKY:    That is correct, Your Honor.

 2                 In terms of the Government's litigation timetable,

 3     having received, as the Court noted, this motion for

 4     reconsideration very late, the Government does request,

 5     given our litigation schedule in Concord, that we submit our

 6     brief on that same day -- that July 16th be the date for us

 7     to submit our response.

 8                 THE COURT:     Why did you suggest a date that was

 9     after that in this case?

10                 MR. ZELINSKY:    We had suggested a date after that

11     in this case because we had hoped that it would be possible

12     to decide this on the narrow grounds that it hadn't been

13     raised when the witness had been given the opportunity.

14                 If that was decided by the Court on the 13th, then

15     we would have given ourselves a week to be able to make sure

16     that we had appropriately addressed any other arguments that

17     we may have foreseen that arose.

18                 Obviously, we can move that time schedule up to

19     the 16th so that we can address it just as rapidly as we can

20     the same constitutional arguments that are echoed in the

21     Concord briefing.

22                 THE COURT:     All right.   Mr. Kamenar, since you

23     seem to be piggybacking on the Concord briefs anyway, do you

24     want to just follow the Concord briefing schedule?

25                 MR. KAMENAR:    I certainly would.      I think that's

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                          * * *     S E A L E D * * *
 1     very --

 2                 THE COURT:     I can't understand you.     Slow down and

 3     speak clearly into the microphone.

 4                 MR. KAMENAR:    Yes.    Yes, Your Honor.

 5                 I agree with Your Honor's suggestion that having

 6     the briefs in tandem makes imminent sense for all of the

 7     parties; and I agree with that.

 8                 I understand, Your Honor, you want to move the

 9     grand jury proceeding along.        I was just suggesting in my

10     motion that maybe this whole thing be held in abeyance

11     pending that, but, certainly, there are obviously two

12     different judges in the same court, and there may be two

13     different orders coming out on that motion.          But I certainly

14     agree that the briefing at the same time in tandem makes

15     imminent sense.

16                 Can you hear me?

17                 THE COURT:     Yes.   I'm thinking about this because

18     this is not really in accord with my schedule.

19                 MR. KAMENAR:    Okay.

20                 THE COURT:     I am going to direct the parties --

21     the Government to submit its opposition on July 10.             Any

22     reply is due July 16.      The hearing will be July 18.

23                 MR. ZELINSKY:    Thank you, Your Honor.

24                 THE COURT:     All right.   We're going to move this

25     along.

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                          * * *     S E A L E D * * *
 1                 MR. KAMENAR:    Very well, Your Honor.

 2                 THE COURT:     All right.   Is there anything further

 3     today?

 4                 MR. ZELINSKY:    Nothing further from the

 5     Government, Your Honor.

 6                 THE COURT:     Mr. Kamenar.

 7                 MR. KAMENAR:    No, Your Honor.     I think that's it.

 8                 No.    I have nothing further, Your Honor.

 9                 THE COURT:     All right.   I would pay attention to

10     your emails.      In a sealed case, as a courtesy to the

11     lawyers, we send orders by email rather than by snail mail.

12     So pay attention to your emails, Mr. Kamenar.

13                 MR. ZELINSKY:    Your Honor, there is one minor

14     objection --

15                 MR. KAMENAR:    Yes, Your Honor.     I will.

16                 May I ask one further question?

17                 THE COURT:     No.   Mr. Zelinsky is going forward.

18                 MR. KAMENAR:    I'm sorry.

19                 MR. ZELINSKY:    The Government would like to voice

20     its concern that, while Mr. Kamenar was unable to attend

21     today, Mr. Kamenar has been able to put out a number of

22     press releases on this case --

23                 THE COURT:     I have noticed.

24                 MR. ZELINSKY:    -- including updating Newsweek as

25     to the proposed status that was filed by the parties in

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 1     between our conversations.        So Mr. Kamenar is certainly able

 2     to speak at length to individuals about this case if not

 3     this Court.

 4                 THE COURT:     Well, I'm going to look forward to his

 5     independent thinking in connection with his reply to your

 6     motion -- your opposition.

 7                 MR. ZELINSKY:    Thank you, Your Honor.

 8                 THE COURT:     All right.

 9                 MR. KAMENAR:    Yes.    Your Honor, may I ask a

10     question?

11                 THE COURT:     I will see you all on July 18th at

12     9:30.

13                 MR. KAMENAR:    Your Honor, this is Mr. Kamenar.

14     May I ask you a question?

15                 THE COURT:     Yes.

16                 MR. KAMENAR:    Hello.    Yes.

17                 Is it permissible to let -- obviously, my client,

18     but others inquiring about the date to let them know just of

19     the dates of the argument?

20                 THE COURT:     This is a grand jury matter.

21                 MR. KAMENAR:    I understand, Your Honor.

22                 THE COURT:     And under the Federal Rules of

23     Criminal Procedure 6(e)(5), plus our local Criminal

24     Rule 6.1, all hearings on matters affecting a grand jury

25     proceeding shall be closed.

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                          * * *     S E A L E D * * *
 1                 MR. KAMENAR:    Your Honor --

 2                 THE COURT:     There is an exception for contempt

 3     proceedings in which the alleged contemnor requests a public

 4     hearing.    But are you saying that litigation over the

 5     validity of the grand jury subpoena is a contemnor

 6     proceeding --

 7                 MR. KAMENAR:    No, Your Honor.

 8                 THE COURT:     -- that would qualify for an exception

 9     under both our local criminal rules and the Federal Rules of

10     Criminal Procedure?

11                 MR. KAMENAR:    No.   Your Honor, you may have

12     misunderstood me.

13                 All I'm asking me is whether or not the dates of

14     the upcoming hearing that you have just set -- is that

15     violating Rule 6?     To let my client and others know that

16     date has been set -- because there has been inquiry why

17     there wasn't a grand jury proceeding this morning.              So I

18     just wanted to --

19                 THE COURT:     Mr. Kamenar, let me explain to you

20     again.    Federal Rule of Criminal Procedure 6(e)(5) and local

21     Criminal Rule 6.1 require that all hearings on matters

22     affecting a grand jury proceeding shall be closed with an

23     exception for contempt proceedings in which the alleged

24     contemnor requests a public hearing.

25                 MR. KAMENAR:    Yes, Your Honor.

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                           * * *     S E A L E D * * *
 1                 THE COURT:      Are you saying that this is a contempt

 2     proceeding right now that falls within the exception to the

 3     federal criminal rule and the local criminal rule?

 4                 MR. KAMENAR:     Your Honor --

 5                 THE COURT:      Can you respond to my question?

 6                 MR. KAMENAR:     No.    I am not saying that this is a

 7     contemnor --

 8                 THE COURT:      Then I think that should answer your

 9     question, that it's covered by Rule 6(e).

10                 MR. KAMENAR:     Yes.   In all due respect, Your

11     Honor, I'm just asking whether the date of the hearing --

12     not the hearing itself -- can be released.          I don't intend

13     to disclose anything in the hearing or anything of the grand

14     jury, just simply the date of the hearing itself.

15                 THE COURT:      Mr. Kamenar, I think you have answered

16     your own question by saying that this is not a contempt

17     proceeding.

18                 Is there anything further today from the

19     Government?

20                 MR. ZELINSKY:     No, Your Honor.

21                 THE COURT:      And for the grand jury witness?

22                 Mr. Kamenar, anything further from the witness?

23                 MR. KAMENAR:     No nothing further.

24                 THE COURT:      All right.

25                 Okay.    You are all excused.

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                          * * *    S E A L E D * * *
 1                 MR. KAMENAR:    Thank you, Your Honor.

 2                 (Whereupon, the proceeding concludes, 11:02 a.m.)

 3                                   * * * * *

 4                                  CERTIFICATE

 5

 6                 I, ELIZABETH SAINT-LOTH, RPR, FCRR, do hereby

 7     certify that the foregoing constitutes a true and accurate

 8     transcript of my stenographic notes, and is a full, true,

 9     and complete transcript of the proceedings to the best of my

10     ability.

11

12

13          Dated this 6 th day of July, 2018.

14

15          /s/ Elizabeth Saint-Loth, RPR, FCRR
            Official Court Reporter
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